Case 2:04-cr-01013-LRR-CJW   Document 119   Filed 06/21/06   Page 1 of 6
Case 2:04-cr-01013-LRR-CJW   Document 119   Filed 06/21/06   Page 2 of 6
Case 2:04-cr-01013-LRR-CJW   Document 119   Filed 06/21/06   Page 3 of 6
Case 2:04-cr-01013-LRR-CJW   Document 119   Filed 06/21/06   Page 4 of 6
Case 2:04-cr-01013-LRR-CJW   Document 119   Filed 06/21/06   Page 5 of 6
Case 2:04-cr-01013-LRR-CJW   Document 119   Filed 06/21/06   Page 6 of 6
